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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Lee Wigod, et al.
Plaintiff(s),

CallFire, Inc.

Defendant(s)

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for

CASE NUMBER:

 

CERTIFICATION AND NOTICE
OF INTERESTED PARTIES

 

(Local Rule 7.1-1)

Plaintiff Wigod

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

PARTY

Woodrow & Peluso, LLC
Aaron D. Aftergood

CONNECTION / INTEREST

Counsel for Plaintiff and the alleged class
Counsel for Plaintiff and the alleged class

15/4/2019 /s/ Aaron Aftergood

 

 

Date Signature

Attorney of record for (or name of party appearing in pro per):

Plaintiff Wigod

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
